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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO.: 11-CV-80038-MARRA

 

SECURITIES AND EXCHANGE COMMISSION,

Plaintiff,
Vv.

MORGAN KIMMEL, n/k/a MORGAN PETITTL, et al.,:

Defendant.

 

FINAL JUDGMENT OF PERMANENT INJUNCTION AND OTHER RELIEF
AS TO DEFENDANT MORGAN KIMMEL, n/k/a MORGAN PETITTI

The Securities and Exchange Commission having filed a Complaint and Defendant
Morgan Kimmel, n/k/a Morgan Petitti having entered a general appearance; consented to the
Court’s jurisdiction over Defendant and the subject matter of this action; consented to entry of
this Final Judgment without admitting or denying the allegations of the Complaint (except as to
jurisdiction); waived findings of fact and conclusions of law; and waived any right to appeal
from this Final Judgment:

I,
PERMANENT INJUNCTION

IT IS ORDERED AND ADJUDGED that Petitti, her officers, agents, servants,
representatives, employees, attorneys, and all persons in active concert or participation with them
who receive actual notice of this Final Judgment by personal service or otherwise are
permanently restrained and enjoined from violating Section 17(a)(2) and 17(a)(3) of the

Securities Act of 1933 (“Securities Act”) [15 U.S.C. §§ 77q(a)(2) and 77q(a)(3)] in the offer or

 
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sale of any security by the use of any means or instruments of transportation or communication
in interstate commerce or by use of the mails, directly or indirectly:

(a) to obtain money or property by means of any untrue statement of a material fact
or any omission of a material fact necessary in order to make the statements
made, in light of the circumstances under which they were made, not misleading;
or

(b) to engage in any transaction, practice, or course of business which operates or

would operate as a fraud or deceit upon the purchaser.

II.
CIVIL MONEY PENALTY AND PAYMENT INSTRUCTIONS

IT IS FURTHER ORDERED AND ADJUDGED that Petitti shall pay a civil penalty
in the amount of $25,000 pursuant to Section 20(d) of the Securities Act [15 U.S.C. § 77t(d)].
Defendant shall make this payment, which she has escrowed with her counsel, within fourteen
(14) days after entry of this Final Judgment by certified check, bank cashier's check, or United
States postal money order payable to the Securities and Exchange Commission. The payment
shall be delivered or mailed to the Office of Financial Management, Securities and Exchange
Commission, Operations Center, 6432 General Green Way, Mail Stop 0-3, Alexandria, Virginia
22312, and shall be accompanied by a letter identifying Petitti as a defendant in this action;
setting forth the title and civil action number of this action and the name of this Court; and
specifying that payment is being made on Petitti’s behalf and pursuant to this Final Judgment.

Defendant shall pay post-judgment interest on any delinquent amounts pursuant to 28 USC

 
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§ 1961. The Commission shall remit the funds paid pursuant to this paragraph to the United
States Treasury.

Petitti shall not seek or accept, directly or indirectly, reimbursement or indemnification
from any source, including but not limited to payment made pursuant to any insurance policy,
with regard to any civil penalty amount she pays pursuant to this Final Judgment, regardless of
whether such penalty amounts or any party thereof are added to a distribution fund or otherwise
used for the benefit of investors. Petitti further shall not claim, assert, or apply for tax deduction
or tax credit with regard to any federal, state, or local tax for any penalty amounts she pays
pursuant to this Final Judgment, regardless of whether such penalty amounts or any part thereof

are added to a distribution fund or otherwise used for the benefit of investors.

III.
INCORPORATION OF CONSENT
IT IS FURTHER ORDERED AND ADJUDGED that the Consent is incorporated
herein with the same force and effect as if fully set forth herein, and that Petitti shall comply with

all of the undertakings and agreements set forth therein.

IV.
RETENTION OF JURISDICTION
IT IS FURTHER ORDERED AND ADJUDGED that this Court shall retain

jurisdiction of this matter for the purposes of enforcing the terms of this Final Judgment.

 
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V.
RULE 54(b) CERTIFICATION
There being no just reason for delay, pursuant to Rule 54(b) of the Federal Rules of Civil

Procedure, the Clerk is ordered to enter this Final Judgment forthwith and without further notice.

thes €t Raim

DONE AND ORDERED in Chambers in “Sec... Florida, this 72 “day of

coer, , 2011.

La
KENNTH A. MARRA
UNITED STATES DISTRICT JUDGE

Service on all parties and counsel of record

 
